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            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                     WESTERN DIVISION


UNITED STATES OF AMERICA                                         PLAINTIFF


v.                         No. 4:12-cr-240-DPM


AARON MARSH and RONALD KELLY                                 DEFENDANTS


                                 ORDER

     For the reasons stated on the record at today' shearing, Marsh's motion

to suppress, NQ 49, is denied with the exception of the defendants' pre-

Miranda statements. Supplemental briefing from both parties on this issue

due by the close of business on Tuesday, 18 February 2014.

     So Ordered.


                                  D.P. Marshan~rr.
                                  United States District Judge
